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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                    )              Chapter 11
                                          )
TERRAFORM LABS PTE. LTD.,                 )              Case No. 24-10070 (BLS)
                                          )
                                          )
            Debtor.                       )
                                          )              Related to Docket No. 109
__________________________________________)

       MOTION OF THE U.S. SECURITIES AND EXCHANGE COMMISSION
    TO SHORTEN NOTICE AND OBJECTION PERIODS WITH RESPECT TO THE
       MOTION OF THE U.S. SECURITIES AND EXCHANGE COMMISSION
         FOR REDACTION OF CERTAIN PERSONAL DATA IDENTIFIERS
       PURSUANT TO FED. R. BANKR. P. 9037 AND DEL. BANKR. L.R. 9037-1

                The United States Securities and Exchange Commission (the “SEC”), a

 creditor in these proceedings and the federal agency responsible for regulating the nation’s

 securities markets and enforcing compliance with the federal securities laws, respectfully

 moves and represents as follows in support of this motion to shorten (the “Motion to

 Shorten”):

                                        BACKGROUND

                1.     On January 21, 2024 (the “Petition Date”), the Debtor commenced with

 this Court a voluntary case under chapter 11 of title 11 of the United States Code (the

 “Bankruptcy Code”).

                2.     On February 29, 2024, the Office of the United States Trustee (the “U.S.

 Trustee”) appointed the Official Committee of Unsecured Creditors in the Chapter 11 Cases

 [Docket No. 101] (the “Committee”).

                3.     Concurrently herewith, the SEC filed the Motion of the U.S. Securities

 and Exchange Commission for Redaction of Certain Personal Data Identifiers Pursuant to Fed.
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R. Bankr. P. 9037 and Del. Bankr. L.R. 9037-1 [Docket No. 109] (the “Motion”).

                4.       By the Motion, the SEC seeks entry of an order directing the clerk to

substitute a proposed redacted Declaration for the Declaration filed at Docket No. 88 as

described more fully in the Motion.

                                         RELIEF REQUESTED

                5.       Pursuant to section 105(a) of the Bankruptcy Code, Bankruptcy Rule

9006(c)(1) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local

Rules 9006-1(c), (d) and (e), the SEC seeks entry of an order, substantially in the form attached

hereto as Exhibit A (the “Proposed Order”), shortening the notice and objection periods in

connection with the Motion so that (a) the hearing on the Motion is scheduled for March 5, 2024

at 2:30 p.m. (ET) (the “Hearing”), and (b) the deadline to file objections, if any, to the Motion

is set for March 4, 2024 at 12:00 p.m. (ET) (the “Objection Deadline”).

                                         BASIS FOR RELIEF

                6.       Under Local Rule 9006-1(c)(i), unless the Bankruptcy Rules or the Local

Rules state otherwise, “. . . all motion papers shall be filed and served in accordance with Local

Rule 2002-1(b) at least fourteen (14) days prior to the hearing date.” Local Rule 9006-1(e)

further provides in relevant part that “no motion will be scheduled on less notice than required

by these Local Rules or the Fed. R. Bankr. P. except by Order of the Court, on written motion .

. . specifying the exigencies justifying shortened notice.” Del. Bankr. L.R. 9006-1(e); see also

Fed. R. Bankr. P. 9006(c)(1) (“[T]he court for cause shown may in its discretion with or without motion

or notice order the period reduced.”).

                7.       Local Rule 9006-1(c)(ii) provides that “the deadline for objection(s) shall

be no later than seven (7) days before the hearing date.” Del. Bank. L.R. 9006- 1(c)(ii). Local

Rule 9006-1(d) provides that absent leave of the Court “[r]eply papers by the movant, or any
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party that has joined the movant, may be filed by 4:00 p.m. prevailing Eastern Time the day

prior to the deadline for filing the agenda.” Del. Bank. L.R. 9006-1(d).

               8.      The SEC submits that good cause exists to expedite consideration of the

Motion. The Motion seeks to substitute a redacted form of Declaration for a version that

includes personal data identifiers. Although the SEC staff believes that this information is

covered by an exemption from redaction requirements, the SEC seeks to redact this information

out of an abundance of caution.

               9.      Accordingly, the SEC respectfully submits that considering the Motion

on shortened notice as set forth herein is reasonable and appropriate under the circumstances.

                     COMPLIANCE WITH LOCAL RULE 9006-1(E)

               10.     Prior to filing this Motion to Shorten, and pursuant to Local Rule 9006-

1(e), counsel to the SEC notified the Office of the United States Trustee for the District of

Delaware (the “U.S. Trustee”), counsel to the Debtor, and proposed counsel to the Committee

of the relief requested herein. Proposed counsel to the Committee confirmed it has no objection

to the relief requested herein and the US Trustee confirmed it is not taking a position on the

Motion to Shorten. Counsel to the Debtor has not responded as of the date hereof.

                                           NOTICE

               11.     Notice of this Motion to Shorten will be provided to the same parties that

received service of the Motion. The SEC respectfully submits that no further notice is required.

                                  NO PREVIOUS REQUEST

               12.     No prior request for the relief sought herein has been made by the SEC

to this or any other Court.




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                WHEREFORE the SEC respectfully requests entry of the Proposed Order

 granting the relief requested herein and such other and further relief as the Court may deem just

 and appropriate.

Dated: March 1, 2024                 UNITED STATES SECURITIES AND
                                     EXCHANGE COMMISSION


                                      /s/ Therese A. Scheuer
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